               Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 1 of 9
I




               IN THE CIRCUIT COURT OF DALI.AS COUNTY, ARKANSAS
                                OVIL DIVISION


    RYAN EAGLES AND
    MICHELLE EAGLES, as parents and
    next friend ofK.E., a minor                                                PLAINTIFF

    vs.                              CASENO.    ~O~~lq~--'1__
    HABILITATION CENTER, LLC, a foreign
    Iimittd Liability Company, d/b/a MillCreek of Arkansas afk/a
    MillCreek Behavioral Health and ACADIA HEALTHCARE
    COMPANY, INC, a foreign Corporation                                 DEFENDANTS


                                           COMPLAINT

           Comes now the Plaintiffs, Ryan Eagles and Michelle Eagles, as parents and next

    friends of K.E., a minor, and for her cause of action against the Defendants, HabiHtation

    Center, LLC, a foreign Limited Liability Company, and Acadia Healthcare Company,

    Inc., a foreign Corporation, states:

       1. The Defendant, Habilitation Center, LLC, hereafter "'Habilitation" is a foreign

           Limited Liability Company that does business in Fordyce, Arkansas under the

           name Millcreek of Arkansas. Its principal place of business is located at 1810

           Industrial Drive, Fordyce, Arkansas 71742. It provides medical services at such

           location. Its agent of service is The Corporation Company. If such Defendant

           claims entitlement to charitable immunity, it is requested to provide the name,

                                                                                         EXHIBIT
                                               1
       Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 2 of 9




   address, and insurance policy number or bond number of all insurance policies

   and bonds tha(~o or may provide coverage for the damages sought herein.

2. Defendant Acadia HealthCare Company, Inc. (hereafter"Acadia") is a Delaware

   Company that holds itself out to operate a network of 587 behavioral healthcare

   facilities in 39 Stat-es. Habilitation is facility that is operated and by Acadia

   HealthCare Company, Inc.

3. Ryan Eag]es and Michelle Eagles, are adults, over the age of 21 years, and are the

   parents and next friend of K.E., who is an 8-year-old minor at the present time.

   The full name of K.E. will be disclosed pursuant to a seal or protective order issued

   by this Court. However, there is no doubt the Defendants, and each of them, are

   well aware of the actual name of K.E.

4. Venue lies properly herein.because the acts and omissions complained of herein

   occurred, at least for th~ most part in Dallas County, Arkansas. Defendant

   Habilitation provides mental health services, operates as a psychiatric hospital and

   a facility to treat children whose behavior in public is potentially harmful, violent,

   and inappropriate to themselves and others,and such Defendant holds themselves

   out to protect and care for the children in their case. Upon admission, K.E. was

   given a document titled ;,Patient Rights: The patient/resident and/or their egal

   guardian have the following rights: Personal Safety: To expect reasonable safety

  in so far as they hospital practices and environment are concerned, including the


                                         2
       Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 3 of 9




   rights to be free from all forms of abuse or harassment." They failed K.E. in that

   respect in that she was digitally raped on multiple occasions by her roommate all

   the while she was supposed to be in a caring and protected environment as

   promised by Defendant Habilitation Center.

5. Defendant Acadia, upC>n information and belief,.oPf:?tates many inpatient acute

   treatment facilities that are designed to provide a safe and stable environment for

   those in need of immediate psychological treatment, among other types of

   treatment.

6. In the period leading up to the dates around October 10, 2018, Habilitation, became

   aware or should had known that the individual who digitally raped K.E. had

   serious mental health issues that prevented her from being an unsupervised

   member of society. On multiple occasions over multiple nights K.E. was digitally

   raped by her roommate without any intervention by any staff member of

   Defendant Habilitation Center. Habilitation Center clearly failed in their duty to

   protect KE.

7. Upon information and belief, the rape was only investigated as a result of the bad

   actor's bragadocia throughout the milieu and to other patients. Upon discovery,

   Habilitation Center unreasonably delayed notifying K.E.'s guardians so that they

   could make internal investigation and reports to Defendant Acadia.




                                        3
       Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 4 of 9




8. Habilitation owes a duty to the public, and to their patients, to ensure that those

    patients in such facility who actually cause sexual abuse or harm to others who are

    minors are: (i) reported to the Child Abuse Hotline, as required by law; (ii) treated

    and medicated so that they do not pose a risk to others in a public place such as

    occurred on or around October 10, 2018 with KE.; (iii) not left unsupervised to

   commit such heinous and violent actions; (iv) warned by providing a warning or

   other information to Habilitation supervisors so that appropriate action can be

    taken to protect its patients.

9. Defendant Acadia knew, by virtue of other assaults and rapes across their, 587

   facilities that these types of assaults are likely to occur, yet they continue to be less

   than diligent in their protecting of their patients.

10. Defendant Habilitation released and discharged KE. only a few days after the

   rapes were reported witho~t any mention whatsoever of the trauma she'd

   endured for a future provider to treat her. Their actions suggest and further their

   intent to cover up the events.

                             COUNT ONE
                 NEGLIENCE- HABILITATION CENTER, LLC.

11. Plaintiff repeats the allegations set forth in paragraphs 1-l0J' above, as if the same

   were set forth word for word herein.




                                          4
        Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 5 of 9




12. Defendant., Habilitation Center, LLC., was negligent in housing children with

    whom they should have known had a propensity to commit assaults on other

   children in the same area., and specificaJJy ,the same bedroom.

13. Defendant Habilitation Center, LLC., was negligent in having adolescents in the

   same room within the facility without adequate security measures in place.

14. Defendant Habilitation Center, LLC., was negligent in hiring, training, and

   supervising its workers. Specifically, it failed to adequately instruct its workers

   on how to supervise the residents of the facility to ensure no harm would occur to

   the other residents of the facility.

15. Defendant Habilitation Center, LLC was further negligent in not having enough

   staff to adequately supervise the residents in the facility.

16. Defendant Habilitation Center, LLC was further negligent for breaches of duties

   set forth in paragraphs l-10, above.

17. Defendant Habilitation Center, LLC failed to have a proper security plan in place

   to protect KE. from the acts set out in paragraphs 1-10 hereinabove.

18. That Defendant Habilitation Center, LLC was Qtherwise negligent which will be

   proven at trial.

19. As the approximate and actual result of the negligence of Habilitation Center,

   LLC., the Plaintiffs, Ryan Eagle and Michelle Eagles have been caused to and

   continue to incur medical bills and otherwise are entitled to recover on behaJf of


                                          s
         Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 6 of 9




    K.E. damages for future medical bills, past and future emotional harm, past and

    future pain and suffering, and other damages in a sum in excess of Seventy-five

    Thousand Dollars excluding interests and costs.




MENTAL AND PHYSICAL CONDITIONS OF BAD ACTOR AND ANY AND ALL

                  INVESTIGATIVE REPORTSAND FINDINGS

 20. The mental and physical condition of the bad actor and her physical and emotional

    disorders are at issue herein and the Court should declare that her physical and

    mental condition are an issue and DefendantHabilitation Center, LLC should be

    ordered and directed that the mental condition of said bad actor is in issue and the

    doctor (or hospital) and patient privilege existing between Habilitation Center,

    LLC and the bad actor are waived insofar as releasing all medical records,

    including any therapy, counseling and/ or previous offense notes of Habilitation

    Center, LLC concerning the bad actor.

 21. The Plaintiffs have not been provided any investigative reports and/or findings

    of same. K.E.'s medical records indicate that she and others filled out forms. Said

    forms are consistent with internal investigation and said internal investigation

    should be provided to Plaintiff, through counsel, immediately so that witnesses

    can be located without delav
                               ., .




                                         6
       Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 7 of 9




22. That the Plaintiff requests an immediate hearing on this issue.



     COUNT THREE-NEGLIGENCE OF ACADIA HEALTHCARE COMPANY,

                                            INC

23. That the Plaintiff re-alleges each and every allegation contained hereinabove in

   paragraphs 1-22.

24. That Defendant Acadia knew or should have know that it was improper to house

   adolescent girls in the same rooms without strict supervision.

25. That Defendant Acadia failed to have adequate security measures as a necessary

   and normal part of its operation of Habilitation Center, LLC.

26. That Defendant Acadia failed to proyide adequate security.

27. That Defendant Acadia failed to have regular nursing and/ or security personne1

   walking around the campus and up and down the halls as part of their operating

   procedure.

28. That Defendant Acadia failed to provide sufficient staff to operate their Fordyce

   facility Habilitation Center, LLC.

29. That Defendant Acadia was otherwise negligent which will be proven at trial




                                        7
       Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 8 of 9




   COUNT FOUR - PUNITIVE DAMAGES AGAINST ALL DEFENDANTS


30. That the Plaintiff re-alleges each and every allegation contained in paragraphs l-

   29 hereinabove.

31. That Defendant Habilitation Center, LLC and ACADIA knew by virtue of

   previous assaults that subsequent sexual assaults were likely without some form

   of protection. Upon information and belief, both Defendants had knowledge or

   previous physical and sexual assaults on their multiple campuses. Their failure

   to take necessary precautions to prevent these attacks, despite their previous

   knowledge of the same and/ or similar attacks, shows a willful and wanton

   disregard for the safety of their patients.

32. That, despite that knowledge, Habilitation Center and Acadia took no actions to

   protect their patrons. Their blatant, intentional, and willful and wanton

   disregard for the safety of KE. lends itself to punitive and/ or exemplary

   damages. Punitive and/ or exemplary damages are appropriate here where,

   despite knowledge, Habilitation Center, LLC and ACADIA took no actions for

   the protection of KE.. Further/ these heinous acts occurred over several nights

   without any personnel from the facility so much as checking on K.E. during the

   night




                                          8
           Case 5:19-cv-00097-JM Document 2 Filed 03/18/19 Page 9 of 9




34. That Habilitation Center, LLC and ACADIA'S actions in instructing K.E. not .

   disclosing this incident to anyone until they could conduct their own internal

   investigation and notify their own risk personnel shows a motive of profit and self

   preservation over the safety and well-being of K.E. and their other patients. Further,

   these actions are intentional, willful and wanton, and demonstrate the necessity for

   punitive and/ or exemplary damages so as to prevent Habilitation Center, LLC ,

   ACADIA and others from this type of behavior in the future.

   WHEREFORE, premises considered, the Plaintiffs Ryan Eagles and Michelle Eagles,

individually and on behalf of K.E., prays that the Court award judgment against each

Defendant, jointly and severally in the sum and amount that the proof presented at the

trial of this matter warrants.

                                        Respectfully Submitted
                                        Ryan Eagles and Michelle Eagles, as Parent
                                        and Next of Friend
                                        of KE., a Minor
                                        Plaintiff

                                        By:- JJ~~flf...,(I../Llr&!l~.,~17':Jr4'!_i.....--
                                        M.Jer
                                        Medloc &: Gramlich, LLP
                                        105 N. 14th Street
                                        Fort Smith, AR 72902
                                        Phone No. (479) 494-5614
                                        Fax No. (479) 802-4742




                                           9
